           Case 19-60084                   Doc 2          Filed 02/08/19 Entered 02/08/19 10:21:01                                            Desc Main
                                                             Document Page 1 of 12

Fill in this information to identify your case:                                                                       For amended plans only:
                                                                                                                           Check if this amended plan is filed prior to
IN THE UNITED STATES BANKRUPTCY COURT                                                                                      any confirmation hearing.

FOR THE EASTERN DISTRICT OF TEXAS                                                                                            Check if this amended plan is filed in
                                                                                                                             response to an initial denial order or a
                                                                                                                             continuance that counted as an initial
Debtor 1              Gregory                    Wayne                     Boykin
                                                                                                                             denial.
                      First Name                 Middle Name               Last Name
                                                                                                                    List the sections which have been changed by
Debtor 2              Levida                     Joyce                     Boykin                                   this amended plan:
(filing spouse)       First Name                 Middle Name               Last Name
                                                                                                                    ______________________________
Case number:                                                                                                        ______________________________
                                                                                                                    ______________________________
                                                                                                                    ______________________________

TXEB Local Form 3015-a
                                                               CHAPTER 13 PLAN
                                                                                                                                                            Adopted: Dec 2017

Part 1:         Notices
To Debtor*:         This plan form is designed for use when seeking an initial confirmation order. It sets out options that may be appropriate in
                    some cases, but the presence of an option on the form does not indicate that the option is appropriate in your
                    circumstances. When you file this Plan, you must serve a copy of it upon each party listed on the master mailing
                    list (matrix) of creditors as constituted by the Court on the date of service and evidence that service through
                    a Certificate of Service affixed to this document that attaches a copy of the matrix of creditors which you
                    served. The most current matrix in this case is available under the "Reports" tab of the CM-ECF system.

* The use of the singular term "Debtor" in this Plan includes both debtors when the case has been initiated by the filing of a joint petition by spouses.

To Creditors:       Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                    You should read this Plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                    have an attorney, you may wish to consult one.

                    If you oppose any permanent treatment of your claim as outlined in this plan, you or your attorney must file an objection to
                    confirmation of this Plan. An objection to confirmation must be filed at least 14 days before the date set for the plan
                    confirmation hearing. That date is listed in ¶ 9 of the Notice of Chapter 13 Bankruptcy Case issued in this case. The
                    objection period may be extended to 7 days prior to the confirmation hearing under the circumstances specified in LBR
                    3015(f). In any event, the Court may confirm this plan without further notice if no objection to confirmation is timely filed.

                    Regardless of whether you are listed in the Debtor's matrix of creditors or in the Debtor's schedules, you must timely file
                    a proof of claim in order to be paid under this Plan. The deadline for filing claims is listed in ¶ 8 of the Notice of Chapter 13
                    Bankruptcy Case issued in this case. Disbursements on allowed claims will begin on the Trustee's next scheduled
                    distribution date after the Effective Date of the Plan. See § 9.1.

                    The Debtor must check on box on each line to state whether or not the plan includes each of the following
                    items. If an item is checked as "Not Included" or if both boxes are checked, the provision will be ineffective if
                    set out later in the Plan.

1.1     A limit on the amount of an allowed secured claim through a final determination of                                              Included               Not included
        the value of property constituting collateral for such claim, as set forth in § 3.10 of
        this Plan, which may result in a partial payment or no payment at all to the secured
        creditor.

1.2     Avoidance of a judicial lien or a nonpossessory, nonpurchase-money security                                                     Included               Not included
        interest, as set forth in § 3.9 of this Plan.

1.3     Potential termination and removal of lien based upon alleged unsecured status of                                                Included               Not included
        claim of lienholder, as set forth in § 3.11 of this Plan.

1.4     Nonstandard provisions as set forth in Part 8.                                                                                  Included               Not included
           Case 19-60084                     Doc 2           Filed 02/08/19 Entered 02/08/19 10:21:01                                       Desc Main
                                                                Document Page 2 of 12

Debtor     Gregory Wayne Boykin                                                                                         Case number
           Levida Joyce Boykin

 Part 2:           Plan Payments and Length of Plan

 2.1     The applicable commitment period for the Debtor is                           36          months.


 2.2     Payment Schedule.

         Unless the Court orders otherwise, beginning on the 30th day after the Petition Date* or the entry date of any order converting this
         case to Chapter 13, whichever is later, the Debtor will make regular payments to the Trustee throughout the applicable commitment
         period and for such additional time as may be necessary to make the payments to claimants specified in Parts 3 through 5 of this Plan
         (the "Plan Term" ). The payment schedule shall consist of:
         * The use of the term "Petition Date" in this Plan refers to the date that the Debtor filed the voluntary petition in this case.

               Constant Payments:              The Debtor will pay             $450.00              per month for                 52        months.

               Variable Payments:      The Debtor will make variable plan payments throughout the Plan Term. The proposed schedule for such
               variable payments are set forth in Exhibit A to this Order and are incorporated herein for all purposes.


 2.3     Mode of Payment.             Regular payments to the Trustee will be made from future income in the following manner:

         [Check one]

               Debtor will make payments pursuant to a wage withholding order directed to an employer.

               Debtor will make electronic payments through the Trustee's authorized online payment system.

               Debtor will make payments by money order or cashier's check upon written authority of the Trustee.

               Debtor will make payments by other direct means only as authorized by motion and separate court order.

 2.4     Income tax refunds.

         In addition to the regular monthly payments to the Trustee, and in the absence of a court order to the contrary, the Debtor is
         required to:

             (1)    supply a copy of each federal income tax return, including all supporting schedules, filed during the Plan Term to the
                    Trustee within 14 days of filing the return; and

             (2)    remit to the Trustee within 14 days of receipt all federal income tax refunds received by each Debtor during the plan term
                    which will be added to the plan base; provided, however, that the Debtor may retain from each such refund up to
                    $2,000.00 in the aggregate on an annual basis if the Debtor is current on the payment obligations to the Trustee under this
                    Plan at the time of the receipt of such tax refund.

         The Debtor hereby authorizes the Trustee to endorse any federal income tax refund check made payable to the Debtor during the
         plan term.


 2.5     Additional payments.             [Check one]

               None. If "None" is checked, the rest of § 2.5 need not be completed.


 2.6     Plan Base.

         The total amount due and owing to the Trustee under §§ 2.2 and 2.5 is        $23,400.00        which, when combined with any income
         tax refunds due to the Trustee under § 2.4, any litigation proceeds due to the Trustee under § 9.3, and any other funds received by the
         Trustee on the Debtor's behalf during the Plan Term, constitutes the "Plan Base."


 Part 3:           Treatment of Secured Claims
 3.1     Post-Petition Home Mortgage Payments. [Check one]

               No Home Mortgage. If "No Mortgage" is checked, the remainder of § 3.1 need not be completed.




TXEB Local Form 3015-a [eff. 12/2017]                                            Chapter 13 Plan                                                        Page 2
          Case 19-60084               Doc 2        Filed 02/08/19 Entered 02/08/19 10:21:01                             Desc Main
                                                      Document Page 3 of 12

Debtor    Gregory Wayne Boykin                                                                    Case number
          Levida Joyce Boykin

 3.2     Curing Defaults and Maintenance of Direct Payment Obligations. [Check one]

             None. If "None" is checked, the remainder of § 3.2 need not be completed.


 3.3     Secured Claims Protected from § 506 Bifurcation. [Check one]

             None. If "None" is checked, the remainder of § 3.3 need not be completed.

             910 Claims.     The claims listed below were either:

                (1)     incurred within 910 days before the Petition Date and secured by a purchase money security interest in a motor vehicle
                       acquired for the personal use of the Debtor, or

                (2)    incurred within 1 year of the Petition Date and secured by a purchase money security interest in any other thing of value,

             and are thus statutorily protected from bifurcation under § 506(a) based on collateral value (a "910 Claim").

             Based upon the Debtor's election to retain certain personal property that serves as collateral for a 910 Claim, adequate protection
             payments in an initial amount calculated pursuant to LBR 3015(c)(1) shall be paid by the Debtor to the Trustee beginning in Month
             1 of the Plan for the benefit of holders of allowed 910 Claims secured by personal property as authorized by § 1326(a)(1)(C) and
             LBR 3015(c). Such payments shall be held by the Trustee solely for the benefit of the affected secured creditor to the absolute
             exclusion of the Debtor and all other parties and shall be tendered by the Trustee at the earliest practicable time to holders of
             allowed 910 Claims secured by personal property as listed below, notwithstanding any failure by the Debtor to achieve
             confirmation of this Chapter 13 plan. Adequate protection payments to be distributed by the Trustee are subject to the availability
             of funds and the Trustee is authorized to make pro rata payments if available funds are insufficient to pay all adequate protection
             payments otherwise due. Such adequate protection payments to each affected secured claimant shall continue on a monthly
             basis until the month in which equal monthly payments are initiated to such claimant under the Plan.

             Each 910 Claim constitutes a separate class. Each 910 Claim will be paid in full by the Trustee with post-confirmation interest
             accruing from the Effective Date of the Plan at the plan rate stated below. Upon confirmation of this Plan, the Trustee is
             authorized to initiate monthly payments on an interim basis based upon the projected amount of each 910 Claim listed below until
             such time as the allowed amount of each 910 Claim is established by the filing of a proof of claim in accordance with the
             Bankruptcy Rules. The amount listed in that proof of claim, or the final determination by the Court of any objection thereto, shall
             control over any projected 910 Claim amount.

             If the automatic stay is terminated as to property securing a 910 Claim treated under this subsection at any time during the Plan
             Term, the next distribution by the Trustee on such 910 Claim shall be escrowed pending any possible reconsideration of the stay
             termination. If the stay termination is reversed by agreement or by court order, then the single escrowed distribution shall be
             released to the holder of the 910 Claim and regular distributions on that 910 Claim shall be reinstituted. In the event that the stay
             termination remains in effect on the second distribution date after the stay termination, the escrowed funds shall be released for
             distribution to other classes under this Plan and the 910 Claim shall thereafter be addressed solely under applicable state law
             procedures and will no longer be treated by the Plan.


             Claimant                     Collateral Description          Adequate        910 Claim        Plan     Equal Monthly       Projected
                                                                          Protection       Amount        Interest    Payment by           Total
                                                                           Payment                         Rate        Trustee         Payment by
                                                                                                                                         Trustee

 1.
 Smart Sales & Lease                  Furniture                            $25.50         $2,469.75      6.25%          $68.88          $2,887.49
                                                                        Month 1
                                                                        through 16

 2.
 Smart Sales & Lease                  Furniture                            $25.50         $3,852.96      6.25%         $114.74          $4,538.53
                                                                        Month 1
                                                                        through 16

 3.4     Secured Claims Subject to § 506 Bifurcation.

         [Check one]

             None. If "None" is checked, the remainder of § 3.4 need not be completed.




TXEB Local Form 3015-a [eff. 12/2017]                               Chapter 13 Plan                                                            Page 3
          Case 19-60084              Doc 2        Filed 02/08/19 Entered 02/08/19 10:21:01                              Desc Main
                                                     Document Page 4 of 12

Debtor    Gregory Wayne Boykin                                                                    Case number
          Levida Joyce Boykin
             Claims Subject to Bifurcation. The secured portion of each claim listed below (a "506 Claim") is equivalent to the lesser of:
             (1) the value of the claimant's interest in the listed collateral or (2) the allowed amount of the claim. Each listed 506 Claim
             constitutes a separate class. Each 506 Claim will be paid by the Trustee with post-confirmation interest accruing from the
             Effective Date of the Plan at the plan rate stated below. If a 506 Claim is established as an oversecured claim, its holder is
             entitled to an additional component of pre-confirmation interest calculated at the contract rate and payable for the period from
             the Petition Date to the earlier of: (1) the Effective Date of the Plan, or (2) the date upon which the aggregate of such interest,
             plus the allowed amount of the 506 Claim, exceeds the value of the collateral. Such holder is responsible for establishing the
             oversecured amount and the applicable contract rate by suffiicient evidence that is either satisfactory to the Trustee or
             otherwise by court order.

             Based upon the Debtor's election to retain certain personal property that serves as collateral for a 506 Claim, adequate
             protection payments in an initial amount calculated pursuant to LBR 3015(c)(1) shall be paid by the Debtor to the Trustee
             beginning in Month 1 of the Plan for the benefit of holders of allowed 506 Claims secured by personal property as authorized
             by § 1326(a)(1)(C) and LBR 3015(c). Such payments shall be held by the Trustee solely for the benefit of the affected
             secured creditor to the absolute exclusion of the Debtor and all other parties and shall be tendered by the Trustee at the
             earliest practicable time to holders of allowed 506 Claims secured by personal property as listed below, notwithstanding any
             failure by the Debtor to achieve confirmation of this Chapter 13 plan. The Trustee shall apply adequate protection payments
             first to accrued interest, if applicable, and then to principal. Adequate protection payments to be distributed by the Trustee are
             subject to the availability of funds and the Trustee is authorized to make pro rata payments if available funds are insufficient to
             pay all adequate protection payments otherwise due. Such adequate protection payments to each affected secured claimant
             shall continue on a monthly basis until the month in which equal monthly payments are initiated to such claimant under the Plan.

             Unless the Debtor invokes § 3.10 of this Plan to obtain a final valuation determination at the confirmation hearing regarding any
             listed 506 Claim, or an agreement with the holder of any listed 506 Claim regarding the value of its collateral is otherwise
             incorporated into the confirmation order, the value of collateral securing each 506 Claim is not finally determined upon the
             confirmation of this Plan. Upon confirmation of this Plan, however, the Trustee is authorized to initiate monthly payments on an
             interim basis based upon the projected Collateral Value of each 506 Claim as listed below until such time as the allowed
             amount of each such 506 Claim is established by the filing of a proof of claim in accordance with the Bankruptcy Rules. The
             amount listed in that proof of claim, or the final determination by the Court of any objection thereto, or the subsequent entry of
             an order granting a separate motion for valuation of collateral pursuant to § 506 and Bankruptcy Rule 3012, shall control over
             any projected Collateral Value amount listed below.

             If the automatic stay is terminated as to the property securing a 506 Claim at any time during the Plan Term, the next distribution
             by the Trustee on such 506 Claim shall be escrowed pending any possible reconsideration of the stay termination. If the stay
             termination is reversed by agreement or by court order, then the single escrowed distribution shall be released to the holder of
             the 506 Claim and regular distributions on that 506 Claim shall be reinstituted. In the event that the stay termination remains in
             effect on the second distribution date after the stay termination, the escrowed funds shall be released for distribution to other
             classes under this Plan and the 506 Claim shall thereafter be addressed solely under applicable state law procedures and will
             no longer by treated by the Plan.


          Claimant                  Collateral            Adequate        Total Claim     Collateral       Plan      Equal Monthly       Projected
                                   Description            Protection       Amount          Value         Interest     Payment by           Total
                                                           Payment                                         Rate         Trustee         Payment by
                                                                                                                                          Trustee

 1.
 First Investors            2011 Dodge                     $124.31       $10,091.00       $8,287.50       6.25%         $211.35          $9,597.35
 Financial Srvcs.           Charger                     Month 1
                                                        through 16

 3.5     Direct Payment of Secured Claims Not in Default. [Check one]

             None. If "None" is checked, the remainder of § 3.5 need not be completed.


 3.6     Surrender of Property. [Check one]

             None. If "None" is checked, the remainder of § 3.6 need not be completed.




TXEB Local Form 3015-a [eff. 12/2017]                             Chapter 13 Plan                                                              Page 4
           Case 19-60084              Doc 2        Filed 02/08/19 Entered 02/08/19 10:21:01                                Desc Main
                                                      Document Page 5 of 12

Debtor    Gregory Wayne Boykin                                                                       Case number
          Levida Joyce Boykin

 3.7     Lien Retention.

         The holder of a lien securing payment of a claim addressed in §§ 3.1 or 3.2 of this Plan shall retain its lien until the indebtedness
         secured by such lien is totally satisfied as determined under applicable non-bankruptcy law. The holder of a lien securing payment of
         any other allowed secured claim that is governed by this Plan shall retain its lien until the earlier of: (1) the total satisfaction of the
         indebtedness secured by the lien as determined under applicable non-bankruptcy law; or (2) the entry of a discharge order in favor of
         the Debtor under § 1328(a). In each instance, the provisions of this subsection may be superseded by a subsequent order of the
         Court.


 3.8     Maintenance of Insurance and Post-Petition Taxes Upon Retained Collateral.

         For all property that secures the payment of an indebtedness and which is proposed to be retained by the Debtor under this Plan, the
         Debtor must maintain insurance coverage as required either by the applicable contractual documents governing the indebtedness or as
         may be directed by the Trustee. The Debtor must also pay all ad valorem taxes on property proposed to be retained by the Debtor
         under this Plan as they come due in the post-petition period. Such payment shall be tendered to the appropriate taxing authorities in
         accordance with applicable non-bankruptcy law on or before the last date on which such taxes may be paid without penalty.


 3.9     Lien avoidance.     [Check one]

              None. If "None" is checked, the remainder of § 3.9 need not be completed.


 3.10    Rule 3012 Valuation of Collateral.      [Check one]

              None. If "None" is checked, the remainder of § 3.10 need not be completed.


 3.11    Lien Removal Based Upon Unsecured Status.              [Check one]

              None. If "None" is checked, the remainder of § 3.11 need not be completed.


 Part 4:       Treatment of Administrative Expenses, DSO Claims and Other Priority Claims

 4.1     General

         All allowed priority claims, other than those particular domestic support obligations treated in § 4.5, will be paid in full without post-
         confirmation interest. Where applicable, the Trustee is authorized to initiate monthly payments on an interim basis based upon the
         projected amount of each priority claim listed below until such time as the allowed amount of each priority claim is established by the
         filing of a proof of claim in accordance with the Bankruptcy Rules. The amount listed in that proof of claim, or the final determination by
         the Court of any objection thereto, shall control over any projected priority claim amount listed below.


 4.2     Trustee's Fees.

         The Trustee's fees are fixed by the United States Trustee pursuant to the provisions of 28 U.S.C. § 586(e)(2) and, pursuant thereto,
         shall be promptly collected and paid from all plan payments received by the Trustee.




TXEB Local Form 3015-a [eff. 12/2017]                               Chapter 13 Plan                                                               Page 5
           Case 19-60084              Doc 2          Filed 02/08/19 Entered 02/08/19 10:21:01                            Desc Main
                                                        Document Page 6 of 12

Debtor    Gregory Wayne Boykin                                                                     Case number
          Levida Joyce Boykin

 4.3     Attorney's Fees.

         The total amount of attorney's fees requested by the Debtor's attorney in this case is      $4,000.00      . The amount of
               $350.00         was paid to the Debtor's attorney prior to the Petition Date. The allowed balance of attorney's fees will be paid by
         the Trustee from the remaining available funds after the payment of required adequate protection payments pursuant to §§ 3.3 and 3.4
         of this Plan.

         The allowed balance of attorney's fees to be awarded to the Debtor's attorney in this case shall be determined by:

              LBR 2016(h)(1);          by submission of a formal fee application.

                 LBR 2016(h)(1): If the attorney's fee award is determined by the benchmark amounts authorized by LBR 2016(h), the total fee
                 shall be the amount designated in LBR 2016(h)(1)(A) unless a certification is filed by the Debtor's attorney regarding the
                 rendition of legal services pertaining to automatic stay litigation occurring during the Benchmark Fee Period outlined in that local
                 rule. The Trustee is authorized to make the benchmark fee calculation and to recognize the proper enhancement or reduction
                 of the benchmark amount in this case without the necessity of court order. No business case supplement to the benchmark
                 fee shall be recognized unless a business case designation is granted on or before initial confirmation of the Plan.

                 Fee Application: If the attorney's fee award is determined by the formal fee application process, such fee application shall be
                 filed no later than 30 days after the expiration of the Benchmark Fee Period outlined in LBR 2016(h)(1). If no application
                 is filed within that period, the determination of the allowed amount of attorney's fees to the Debtor's attorney shall revert to the
                 benchmark amounts authorized by LBR 2016(h)(1) without the necessity of any further motion, notice or hearing and the
                 Trustee shall adjust any distributions in this class accordingly.


 4.4     Priority Claims: Domestic Support Obligations ("DSO"). [Check one]

              None. If "None" is checked, the remainder of § 4.4 need not be completed.


 4.5     Priority Claims: DSO Assigned/Owed to Governmental Unit and Paid Less Than Full Amount. [Check one]

              None. If "None" is checked, the remainder of § 4.5 need not be completed.


 4.6     Priority Claims: Taxes and Other Priority Claims Excluding Attorney's Fees and DSO Claims. [Check one]

              None. If "None" is checked, the remainder of § 4.5 need not be completed.


 Part 5:       Treatment of Nonpriority Unsecured Claims

 5.1     Specially Classed Unsecured Claims.            [Check one]

              None. If "None" is checked, the remainder of § 5.1 need not be completed.


 5.2     General Unsecured Claims.

         Allowed nonpriority unsecured claims shall comprise a single class of creditors and will be paid:

              100% + Interest at                ;

              100% + Interest at                    with no future modifications to treatment under this subsection;

              Pro Rata Share: of all funds remaining after payment of all secured, priority, and specially classified claims.


 5.3     Liquidation Analysis: Unsecured Claims Under Parts 4 and 5.

         If the bankruptcy estate of the Debtor was liquidated under Chapter 7 of the Bankruptcy Code, the holders of priority unsecured claims
         under Part 4 of this Plan and the holders of nonpriority unsecured claims under Part 5 of this Plan would be paid an aggregate sum of
         approximately        $0.00    . Regardless of the particular payment treatments elected under Parts 4 and 5 of this Plan, the
         aggregate amount of payments which will be paid to the holders of allowed unsecured claims under this Plan will be equivalent to or
         greater than this amount.




TXEB Local Form 3015-a [eff. 12/2017]                                 Chapter 13 Plan                                                           Page 6
           Case 19-60084              Doc 2        Filed 02/08/19 Entered 02/08/19 10:21:01                              Desc Main
                                                      Document Page 7 of 12

Debtor    Gregory Wayne Boykin                                                                     Case number
          Levida Joyce Boykin

 Part 6:       Executory Contracts and Unexpired Leases

 6.1     General Rule - Rejection. The executory contracts and unexpired leases of the Debtor listed below are ASSUMED.
         All other executory contracts and unexpired leases of the Debtor are REJECTED.

         [Check one.]

              None. If "None" is checked, the remainder of § 6.1 need not be completed.

              Assumed Contracts/Leases. All cure claims arising from the assumption of the following executory contracts or unexpired
              leases will be treated as specified in § 3.2 of the Plan and must be listed therein in order to be assumed. Otherwise, post-petition
              installment payments for any assumed executory contract or unexpired lease agreement constitute a direct payment obligation
              ("DPO") of the Debtor for which the Debtor shall serve as the disbursing agent.


                             Counterparty                                        Description and Required Monthly Payment Amount of
                                                                                   Assumed Executory Contract or Leased Property

 1.                                                                     $960.00
 Debra Walston & John Kraatz                                            Residential Lease

 Part 7:       Vesting of Property of the Estate

 7.1     Property of the estate will vest in the Debtor only upon the entry of an order for discharge pursuant to § 1328, in the absence of a
         court order to the contrary.


 Part 8:       Nonstandard Plan Provisions
              None. If "None" is checked, the rest of Part 8 need not be completed.


 Part 9:       Miscellaneous Provisions

 9.1     Effective Date. The effective date of this Plan shall be the date upon which the order confirming this Plan becomes a final,
         nonappealable order.


 9.2     Plan Distribution Order. Unless the Court orders otherwise, disbursements by the Trustee under this Plan shall occur in the following
         order: (1) Trustee's fees under § 4.2 upon receipt; (2) adequate protection payments under §§ 3.3 and 3.4; (3) allowed attorney fees
         under § 4.3; (4) secured claims under §§ 3.2, 3.3 and 3.4 concurrently; (5) DSO priority claims under §§ 4.4 and 4.5 concurrently;
         (6) non-DSO priority claims under § 4.6; (7) specially classed unsecured claims under § 5.1; and (8) general unsecured claims under
         § 5.2.


 9.3     Litigation Proceeds. No settlement of any litigation prosecuted by the Debtor during the Plan Term shall be consummated without the
         consent of the Chapter 13 Trustee and, except as otherwise authorized by the Trustee, all funds received by the Debtor, or any
         attorney for the Debtor, shall be immediately tendered to the Chapter 13 Trustee for satisfaction of any authorized exemption claim of
         the Debtor, with the remainder of the funds dedicated as an additional component of the plan base.




TXEB Local Form 3015-a [eff. 12/2017]                              Chapter 13 Plan                                                              Page 7
            Case 19-60084          Doc 2       Filed 02/08/19 Entered 02/08/19 10:21:01                        Desc Main
                                                  Document Page 8 of 12

Debtor     Gregory Wayne Boykin                                                             Case number
           Levida Joyce Boykin

 Part 10:      Signatures

   X     /s/ GORDON MOSLEY                                             Date 02/08/2019

   Signature of Attorney for Debtor(s)


   X     /s/ Gregory Wayne Boykin                                      Date 02/08/2019

   X     /s/ Levida Joyce Boykin                                       Date 02/08/2019

   Signature(s) of Debtor(s) (required if not represented by an attorney; otherwise optional)

   By filing this document, the attorney for the Debtor or any self-represented Debtor certifies to the Court that the wording
   and order of the provisions in this Chapter 13 plan are identical to those contained in TXEB Local Form 3015-a, other than
   any nonstandard provisions included in Part 8, and that the foregoing proposed Plan contains no nonstandard provisions
   other than those included in Part 8.



 Part 11:      Certificate of Service to Matrix as Currently Constituted by the Court




TXEB Local Form 3015-a [eff. 12/2017]                         Chapter 13 Plan                                                    Page 8
           Case 19-60084        Doc 2        Filed 02/08/19 Entered 02/08/19 10:21:01             Desc Main
                                                Document Page 9 of 12
                                      UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF TEXAS
                                               TYLER DIVISION

  IN RE: Gregory Wayne Boykin                                                  CASE NO.
                                    Debtor


          Levida Joyce Boykin                                                  CHAPTER     13
                                  Joint Debtor

                                                 CERTIFICATE OF SERVICE


    I, the undersigned, hereby certify that on February 8, 2019, a copy of the attached Chapter 13 Plan, with any
attachments, was served on each party in interest listed below, by placing each copy in an envelope properly addressed,
postage fully prepaid in compliance with Local Rule 9013 (g).




                                /s/ GORDON MOSLEY
                                GORDON MOSLEY
                                Bar ID:00791311
                                Gordon Mosley
                                4411 Old Bullard Rd
                                Suite 700
                                Tyler, TX 75703



Account Recovery Svcs                        American Electric Power                   Anytime Fitness
xxxxxxxx xccts                               165 Lawrence Bell Drive Ste 100           2190 South Loop 256
3144 Sw 28th Ave Ste A                       Buffalo, NY 14221                         Palestine, TX 75801
Amarillo, TX 79109



ACSO of Texas LLP                            Anderson County Appraisal Dist            Attorney General of Texas
135 North Church Street                      PO Box 279                                Taxation Div - Bankruptcy
Spartanburg, SC 29306                        Palestine TX 75802-0279                   Box 12548 Capitol Station
                                                                                       Austin Texas 78711



Ad Astra Recovery Serv                       Anderson County Tax Assessor              Behavioral Hospital of Longview
4392                                         Attn: Teri Garvey                         22 Bermuda Drive
7330 W 33rd St N Ste 118                     PO Box 1990                               Longview, TX 75606
Wichita, KS 67205                            Palestine TX 75802-1990



Advance America                              Anytime Fitness                           Behavioral Hospital of Longview
1704                                         c/o ABC Financial Services                7074 Grove Road Ste 129
2029 Crockett Rd.                            PO Box 6800                               Spring Hill, FL 34609
Palestine, TX 75801                          Sherwood, AR 72124-6800
           Case 19-60084        Doc 2      Filed 02/08/19 Entered 02/08/19 10:21:01           Desc Main
                                             Document Page 10 of 12
                                    UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF TEXAS
                                             TYLER DIVISION

  IN RE: Gregory Wayne Boykin                                                CASE NO.
                                  Debtor


          Levida Joyce Boykin                                                CHAPTER    13
                                Joint Debtor

                                               CERTIFICATE OF SERVICE
                                                  (Continuation Sheet #1)

Cac Financial Corp                         Certified Collectors                    Credit Management Lp
xxxx3874                                   xxx3772                                 xxxx1784
2601 Nw Expressway                         Po box 1906                             P.o. Box 118288
Oklahoma City, OK 73112                    Amarillo, TX 79105                      Carrollton, TX 75011



Cac Financial Corp                         Check N Go                              Credit Systems Intl In
xxxx3307                                   7755 Montgomery Road Ste 400            xxxxx6194
2601 Nw Expressway                         Cincinnati, OH 45236-4197               1277 Country Club Ln
Oklahoma City, OK 73112                                                            Fort Worth, TX 76112



Care Payment                               Christus Trinity Mother Frances         Dalhart Family Medicine Clinic
PO Box 9197                                5147                                    206 E. 16th Street B
Coral Springs, FL 33075                    PO Box 844787                           Dalhart, TX 79022
                                           Dallas TX 75284-4787



Care Payment                               Commonwealth Financial                  Dish Network
PO Box 2398                                xxxxxxx45N1                             Dept 0063
Omaha, NE 60103-2398                       245 Main St                             Palatine IL 60055-0063
                                           Dickson City, PA 18519



Care Payment                               Contenintal Credit                      Dish Network
8506                                       323 Denrock Ave                         PO Box 557268
9600 SW Nimbus Ave, Suite 260              Dalhart, TX 79022                       Jacksonville, FL 32255
Beaverton, OR 97008



Carey D. Ebert                             Convergent                              Diversified Consultant
110 North College Avenue                   xxxx7682                                xxxx8955
Tyler, TX 75702                            Po Box 9004                             P O Box 551268
                                           Renton, WA 98057                        Jacksonville, FL 32255



Certified Collectors                       Credit Management Lp                    Dumas Vision Source PLLC
xxx4342                                    xxxx9805                                1301 E. 1st Street
Po box 1906                                P.o. Box 118288                         Dumas, TX 79029
Amarillo, TX 79105                         Carrollton, TX 75011
           Case 19-60084           Doc 2      Filed 02/08/19 Entered 02/08/19 10:21:01           Desc Main
                                                Document Page 11 of 12
                                       UNITED STATES BANKRUPTCY COURT
                                           EASTERN DISTRICT OF TEXAS
                                                TYLER DIVISION

  IN RE: Gregory Wayne Boykin                                                   CASE NO.
                                     Debtor


          Levida Joyce Boykin                                                   CHAPTER    13
                                   Joint Debtor

                                                  CERTIFICATE OF SERVICE
                                                     (Continuation Sheet #2)

First Convenience Bank                        Merchants&professional                  Sears/CBNA
PO Box 909                                    xxx0427                                 Citicorp Credit
Killeen, TX 76540-0909                        5508 Parkcrest Dr Ste 21                Srvs/Centralized Bankruptcy
                                              Austin, TX 78731                        PO Box 790040
                                                                                      St. Louis, MO 63179


First Investors                               Merchants&professional                  Security credit
PO Box 205749                                 xxx4355                                 xxx9623
Dallas, TX 75320-5749                         5508 Parkcrest Dr Ste 21                306 Enterprise Drive
                                              Austin, TX 78731                        Oxford, MS 38655



First Investors Financial Srvcs.              NCP Finance Limited Partnership         Security credit
x0001                                         205 Sugar Camp Circle Dept AEA          xxx9624
380 Interstate North Parkway                  Dayton, OH 45409                        306 Enterprise Drive
Atlanta, GA 30339                                                                     Oxford, MS 38655



Gregory Wayne Boykin                          Optimum Outcomes Inc                    Security Credit Service
225 Micheaux                                  xxxxx6654                               xxx7722
Palestine, Texas 75801                        2651 Warrenville Road                   306 Enterprise Drive
                                              Downers Grove, IL 60515                 Oxford, MS 38655



Internal Revenue Service                      Optimum Outcomes Inc                    Security Credit Service
Central Insolvency Department                 xxxxx1148                               xxx9622
P.O. Box 7346                                 2651 Warrenville Road                   306 Enterprise Drive
Philadelphia, PA 19101-7346                   Downers Grove, IL 60515                 Oxford, MS 38655



Lincare                                       Optimum Outcomes Inc                    Smart Sales & Lease
4400 Will Rogers Parkway                      xxxxx5662                               3220 West Main Street Suite 200
Oklahoma City, OK 73108                       2651 Warrenville Road                   Rapid City, SD 57702
                                              Downers Grove, IL 60515



Mercantile Adjmnt Bur                         Power Finance Texas                     Speedy Cash
xxxx6897                                      PO Box 520246                           3611 North Ridge Road
165 Lawrence Bell Drive                       Salt Lake City, UT 84152                Wichita, KS 67205
Williamsville, NY 14221
          Case 19-60084         Doc 2          Filed 02/08/19 Entered 02/08/19 10:21:01           Desc Main
                                                 Document Page 12 of 12
                                        UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF TEXAS
                                                 TYLER DIVISION

  IN RE: Gregory Wayne Boykin                                                    CASE NO.
                                      Debtor


          Levida Joyce Boykin                                                    CHAPTER    13
                                    Joint Debtor

                                                   CERTIFICATE OF SERVICE
                                                      (Continuation Sheet #3)

Speedy Cash                                    The Cash Store                          United Revenue Corp
Customer Relations                             1300 W Walnut Hill Ln. # 255            xxx0149
8400 E. 32nd Street North                      Irving, TX 75038                        204 Billings St Ste 120
Wichita, KS 67226                                                                      Arlington, TX 76010



Speedy Cash                                    The Cash Store                          United Revenue Corp
PO Box 780408                                  0542                                    xxx5227
Wichita, KS 67278-0408                         2213 S. Loop 256 # 112                  204 Billings St Ste 120
                                               Palestine, TX 75801                     Arlington, TX 76010



Speedy Cash                                    The Cash Store                          United States Attorney
6902 Harrisburg Blvd.                          1915 N. State Hwy 121                   110 N College
Houston, TX 77011                              Bonham, TX 75418                        Suite 700
                                                                                       Tyler Texas 75702



Sprint Convergent                              TLRA                                    Wakefield & Associates
PO Box 9004                                    3444                                    xx14FE
Santa Paula, CA 93060                          2707 North Loop West Suite 400          10800 E Bethany Drsuite
                                               Houston, TX 77008                       Aurora, CO 80014



Summers & Johnson, PC                          TreeMac Funding Group LLC               Wakefield & Associates, Inc.
Attorneys at Law                               8340 Meadow Rd. Ste 244                 PO Box 58
717 Thomas Street                              Dallas, TX 75231                        Fort Morgan, CO 80701
Weston, MO 64098



Texas Comptroller of Public Accts              TreeMac Funding Group LLC               Why Not Leasing, LLC
Rev. Accounting Div-Bankruptcy                 8330 Meadow Rd. Ste 114                 1750 Elm St., Suite 1200
PO Box 13528                                   Dallas, TX 75231                        Manchester, NH 03104
Austin Texas 78711-3528



Texas Workforce Commission                     Uniited States Attorney General         XIT Communications
Attn: Bankruptcy Information                   US Dept. of Justice                     PO Box 711
101 E 15th St                                  950 Pennsylvania Ave. NW                Dalhart, TX 79022
Austin Texas 78778-0001                        Washington, DC 50530-0001
